       Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 1 of 20



 1 William J. Quinlan, State Bar No. 028679
   THE QUINLAN LAW FIRM, LLC
 2
   233 S. Wacker Drive, 61st Floor
 3 Chicago, Illinois 60606
   Telephone: 312.629.6012
 4 E-Mail: wjq@quinlanfirm.com

 5
     Attorneys for Epicenter Loss Recovery, L.L.C.
 6

 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF ARIZONA
10

11

12
     Epicenter Loss Recovery LLC, an Arizona           No. 2:18-CV-03300-DJH
13   Limited Liability Company,
14                Plaintiff,                         PLAINTIFF’S OPPOSITION
                                                     TO DEFENDANTS’ MOTION
15          vs.                                      TO DISMISS
16   Burford Capital Ltd., and Ganymede                (Hon. Diane J. Humetewa)
     Investments Ltd.,
17
                  Defendants.
18

19

20

21

22          Plaintiff Epicenter Loss Recovery LLC (“ELR”), by and through its counsel, respectfully
23   states as follows as its Response in Opposition to Motion to Dismiss.
24
            I.        The Court Should Deny The Motion To Dismiss Because The Arbitration Has
25                    Not Fully Concluded.

26          Epicenter respectfully submits that Defendants’ motion to dismiss is premature as the

27   arbitration has not yet concluded. Specifically, supplemental proceedings are pending before the

28   LCIA tribunal related to an anti-suit injunction --- requested by Defendants --- and a determination


                                PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
       Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 2 of 20



 1   of costs to be awarded to Defendants based on the Partial Award. Epicenter submitted a response

 2   to the LCIA addressing the remaining issues. A copy of that Response is attached hereto as Exhibit
 3   A. Thus, the arbitration does not meet the “has been had” standard that would support dismissal.
 4            II.    The Court Should Deny The Motion To Dismiss Because Epicenter Has
 5                   Requested That The LCIA Tribunal Void The Arbitration Based on
                     Undisclosed Conflicts And Bias.
 6
              On August 23, 2023, Epicenter submitted to the Tribunal a request to lift all confidentiality
 7
     provisions and terminate and void the arbitration due to undisclosed conflicts and bias. A copy of
 8
     the August 23, 2023 submission is attached hereto as Exhibit B. Further, Bruce Gray, the sole
 9
     member of Epicenter has requested the opportunity to apprise this Court of specific instances that
10
     he believes demonstrate the bias and conflict of interest that supports his request to void the
11
     arbitration. Counsel here was not counsel in the arbitration and therefore, attached as Exhibit C is
12
     correspondence from Mr. Gray related to proceedings before the LCIA that he believes support the
13
     request to void the arbitration. Epicenter no longer has counsel representing its interest before the
14
     LCIA.
15
              Pending the Tribunal’s ruling on Epicenter’s request to void the arbitration, any dismissal
16
     would be premature. Epicenter has raised a challenge to the whether the arbitration should be
17
     voided. Courts have recognized that a stay may appropriate if the arbitration proceedings are
18
     somehow legally deficient, so that the matter may return to the Court for review. See Cherry v.
19
     Wertheim Schroder & Co., Inc., .868 F. Supp. 830, 836 (D. S.Car. 1994). Thus, if the arbitration
20
     is deemed void or invalid, a stay is necessary in order to preserve Epicenter’s rights before the
21
     Court.
22
              III.   The Authority Cited By Defendants Is Inapposite.
23
              Finally, the authority that Burford relies on here to support the motion to dismiss is
24
     inapposite. Specifically, in Tillman v. Tillman, 825 F.3d 1069, 1075 (9th Cir. 2016), the Ninth
25
     Circuit held that when an arbitration was terminated before the merits were reached or an
26
     award issued --- because of the party’s failure to pay arbitration fees --- allowing the case
27
     to proceed before the district court was the only way for the claims to be adjudicated. In
28
                                                       -2-
                                PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
       Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 3 of 20



 1   Tillman, the parties agreed to arbitration rules that provided for termination of arbitration
 2   in the event of nonpayment without resolution or judgment. Here, in light of the pending
 3   supplemental issues and the pending request to void the arbitration and lift the
 4   confidentiality orders, the arbitration does not meet the “has been had” standard that would
 5   support dismissal.
            Dated: September 5, 2023           THE QUINLAN LAW FIRM, LLC
 6
 7                                             /s/ William J. Quinlan
                                                William J. Quinlan
 8                                              233 S. Wacker Drive, 61st Floor
                                                Chicago, Illinois 60606
 9                                              docketing@quinlanfirm.com
                                                312-883-5500
10                                              Attorneys for Plaintiff
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  -3-
                             PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 4 of 20




                                                         Exhibit A
   Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 5 of 20



CLAIMANT’S RESPONSE TO RESPONDENT’S 31 JULY 2023 PROPOSED
ADDITIONS TO THE ANTI-SUIT INJUCTION LANGUAGE IN THE AWARD:

Claimant ELR is adamantly opposed to the language Respondent Burford Capital seeks to
add to the anti-suit injunction. Moreover, ELR is opposed to any anti-suit injunction
language in the Award that would in any way limit or stifle, either implicitly or otherwise,
ELR’s rights in US Court or elsewhere, or that make self-serving declarations by Burford
about its liability or lack thereof – not because ELR has the slightest desire to extend one
day longer than necessary the nearly 14-year nightmare of the Gray Development Group
affiliates’ fatal association with Burford and its founders, but because ELR believes the LCIA
was not a true neutral forum for this arbitration due to Burford’s powerful one-of-a-kind role
within the international arbitration industry and the elite London legal establishment, as well
as Burford’s undisclosed but highly probable business and/or personal relationships with the
LCIA Court and Board members (see Exhibit A), its Users’ Councils, and its owners.

Very serious questions need to be asked and brought to the attention of Judge Humetewa in
US District Court in Arizona about LCIA’s neutrality, conflicts, and bias – including
unconscious bias – whenever Burford is a direct party to international arbitration at the LCIA
in London. The US Court that ordered this arbitration must be completely unfettered to do
whatever it deems appropriate based on a closer examination of these questions. Because of
those legitimate questions, the Tribunal should not oblige the Respondent by attempting to
unfairly nail ELR’s coffin shut by cynically using the Tribunal to cover Burford’s tracks with
the intent of keeping Burford’s corrupt business practices and questionable ethics out of
public view and scrutiny.

Burford is simply unlike any other party to LCIA arbitration because Burford is the world’s
largest and most powerful funder of international arbitration – the LCIA’s one and only
business – as well as the largest and most influential capital provider to the top 200 law firms
and barristers in London as well as globally. Burford’s October 2009 IPO announcement
states, “the Company intends to focus on commercial disputes in the United States and on
international arbitration matters.” It is no coincidence that Burford has been one of the
leading proponents and cheerleaders of London arbitration generally, and of the LCIA in
particular, as other venues around the world have steadily eroded London’s dominant
position as the preferred seat of international arbitration, as evidenced by Burford’s March



                                                                                              1
   Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 6 of 20



2019 roundtable “with leading London lawyers and arbitrators . . . to discuss the city’s
continued evolution as an arbitral center” [excerpted from Burford’s website].

According to Burford’s website, it funded $928 million “on behalf of companies and law
firms in 2022” alone and has a current investment portfolio of $5.8 billion with “more than
1,000 commercial matters”, which appears to have grown by leaps and bounds annually at
least in part thanks to Burford’s major early win with ELR’s predecessors in 2010 just nine
months after its IPO. How many of those 1,000-plus current matters are now in arbitration
at the LCIA or soon will be? How could we possibly know? All or nearly all of Burford’s
money ultimately flows to the world’s preeminent law firms and London barristers – at least
some partners of which directly or indirectly control and/or influence the LCIA.
Collectively, Burford may very well be, either directly or indirectly, the single largest source
of revenue for elite law firms and barristers in London and may also be the largest and most
indispensable source of revenue, either directly or indirectly, for the LCIA itself.

Burford’s website boasts that it has funded cases with 91% of the world’s 100 largest law
firms, all or nearly all of which are headquartered or have offices in London. During the
first quarter of 2023, of the 51 members of the LCIA Court and Board (setting aside the
dozen or so prominent London barristers on the Court and/or Board) at least twelve are
partners or counsel at the world’s 100 largest law firms and four others are partners at the
top 200 firms, according to law.com 2022 global rankings by revenue. At least ten others on
the Court and/or Board are prior partners or counsel at the world’s 200 largest law firms.
Suffice it to say that the elite law firms and barristers that Burford does business with have
at least some involvements in the leadership and control of the LCIA. It is statistically
impossible for Burford to not be doing business either directly or indirectly with at least
some of the law firms represented on the LCIA Court and/or Board, not to mention
potentially barristers on the Court and/or Board, and the 2,200 members on the LCIA Users’
Councils, whose names are not available to the public – but whose name may be withheld
upon request by the member from the LCIA Member Directory to remain anonymous. Is
anyone at Burford or its counsel in this case a member and, if so, in what capacity?
Transparency and disclosures by the LCIA are virtually nil, so we have no way of knowing.

Burford Capital is indeed the ultimate forum-shopper. Even before its IPO in 2009, which
occurred just weeks before the first FPA with ELR’s predecessors, it is ELR’s understanding
that the three US lawyers that founded the company predetermined that all future Burford


                                                                                              2
   Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 7 of 20



investment contracts would mandate arbitration before the LCIA, and only in London, and
always applying English law. Burford clearly did so in the belief that it would provide it a
distinct if not insurmountable advantage over those with whom Burford would do business,
many of whom are of course in financial difficulty, particularly with small players like the
Gray Development Group affiliates in a far-off backwater like Arizona.

ELR believes the three Burford founders preselected the LCIA, not just for laws more
favorable for its future litigation and international arbitration funding business in England
than in the US (as Burford was likely entitled to do), but also because they likely already
knew several members of the LCIA Court and Board (through their many Harvard,
Georgetown and Yale university connections and prior professional relationships as
prominent lawyers, for example) and recognized that over time, if Burford was successful,
it would have more and more business relationships with other prominent lawyers that
control and influence the LCIA – every one of whom Burford hoped to do business with.
Burford has succeeded and that has now come to pass.

ELR has good reason to believe that Burford preselected the LCIA over exponentially more
convenient AAA-ICDR, for example, due to the LCIA being controlled predominantly by
the same relatively small number of London barristers and partners of elite law firm with
whom Burford planned to provide billions in capital, but also due to LCIA’s relatively tiny
annual caseload that would give Burford outsize leverage, influence, and clout as it funded
more and more international arbitration and funneled ever more high-value cases to the
LCIA. It didn’t take a genius to recognize in 2009 that Burford’s and LCIA’s business and
financial interests would be increasingly aligned and become interdependent over time as
Burford grew and prospered. ELR also has reason to believe that Burford’s designation of
the LCIA as its preferred if not mandatory international arbitration forum was and remains
essential and integral to Burford’s business model and business plan that requires keeping
its questionable business practices and ethics out of public view and hidden from
stockholders and regulators.

Private company secrecy, strict confidentiality, the lack of transparency, and the absence of
disclosures at the LCIA is enormously problematic and troubling in this unique case because
of what Burford is today and what it does with whom that is altogether unlike any other party
to LCIA arbitration. None of this could happen with an actual UK or US court where most
records are publicly available, everyone at the court is a government employee, and no one


                                                                                           3
   Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 8 of 20



is a current partner of a major law firm or practicing barrister with a direct, outside financial
interest or ties to Burford. While the LCIA’s leadership and control structure may work fine
with every international arbitration participant other than Burford, it is now altogether
disqualifying for the LCIA to arbitrate disputes involving Burford itself. Burford has been
so successful and become so dominant and powerful in the legal world that it may no longer
be suitable for any private international arbitration – at least not in London where much of
Burford’s money ends up.

The financial fortunes of Buford Capital and many of the largest law firms and most
prominent barristers in London, not to mention the LCIA itself and the larger London legal
community, are linked to one degree or another – the only question is how much. It is
impossible for an outsider like ELR to know because the LCIA made no disclosure of
conflicts or potential conflicts in this case, and the LCIA and Burford both have
confidentiality rules that make it impossible to know who is doing business with whom, and
how many and how often Burford has cases before the LCIA, either directly or indirectly,
and what percentage of LCIA revenue is derived from the high-value cases funded and fed
to it by Burford – but we know it’s not zero because of the Sysco case that apparently went
to trial at the LCIA earlier this year according to published media reports around the same
time as this case. ELR has no way of knowing how many other Burford-funded cases have
been tried by the LCIA but it is likely substantial. Has an LCIA award ever gone against
Burford’s interests? How could we possibly know?

ELR believes Burford purposely uses LCIA confidentiality rules (intended one assumes to
legitimately protect one-off arbitration participants not in the London legal community or
litigation and international arbitration funding business) to make it impossible for anyone to
know how deep Burford’s relationship is with the LCIA and those that control it, and to
prevent anyone from connecting the dots of Burford’s corrupt business practices and
questionable ethics. As a result, it is nearly impossible for unsuspecting companies
contemplating doing business with Burford – not to mention Burford stockholders and
potential stockholders many of whom are public pensions – to know who they might be
getting in bed with, what to expect, and to be able to evaluate the true risks of investing or
doing business with Burford.

It came as a surprise to ELR earlier this year when it learned that the LCIA is in fact a
privately owned company. While a non-profit, the LCIA still needs to compete for business


                                                                                               4
   Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 9 of 20



with much larger, fast-growing competitors, and its leadership has every motivation to
protect its future, while members of the LCIA Court, Board, and Users’ Councils clearly
have an incentive to earn a profit for themselves and their firms. According to information
believed to be reliable found on the Internet, six of the world’s largest international
arbitration organizations include: AAA-ICDR, CIETAC, HKIAC, ICC, LCIA and SIAC. Of
the nearly 15,200 cases administered by the six in 2021, only 322 or 2.1% were administered
by the LCIA. ELR is concerned that the LCIA and those that control it cannot afford to lose
its status as Burford’s preferred if not exclusive international arbitration forum or lose
Burford as a major long-term feeder of high-value cases. Since peaking in 2020, LCIA
caseload through 2022 declined 28% while other top arbitration forums outside the UK have
continued to grow as the leading centers of international arbitration continue to shift to the
US and Asia. The LCIA may therefore be highly motivated to downplay or ignore conflicts
and bias with respect to Burford, particularly after losing significant business following
Russia’s invasion of Ukraine in 2022. ELR is justifiably concerned that the LCIA, its owners
and members simply cannot risk alienating increasingly powerful Burford, or in any way
jeopardize the hundreds of millions of pounds Burford pumps into the elite London legal
establishment annually.

Respectfully, it is simply impossible for the LCIA to be a true neutral, unconflicted and
unbiased forum when Burford or an affiliate of Burford is a direct party to private
international arbitration. An anti-suit injunction intended to prohibit ELR from finding a
neutral, unconflicted and unbiased court, and self-serving declarations by Burford about its
lack of accountability or liability are simply unfair to ELR and completely inappropriate due
to the unique facts and very special circumstances present here.




                                                                                            5
           Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 10 of 20




                                                    EXHIBIT A

THE LCIA BOARD, Q1 2023:

•   Chairman: Christopher Style KC, One Essex Court – UK Set Rank #11 (previously with Linklaters – World
    Rank #15) [chambermate of Tribunal panelist Dame Elizabeth Gloster]

•   Director General: Professor Dr Jaconijn van Haersolte-van Hof, HaersolteHof (previously with
    Freshfields Bruckhaus Deringer – World Rank #17)

•   Deputy Director General: Jamie Harrison, “practising international arbitration lawyer”

•   President LCIA Court: Paula Hodges KC Partner and Head of Global Arbitration Practice, Herbert Smith.
     Freehills – World Rank #33..

•   James Castello Partner, King & Spalding – World Rank #28.

•   Kate Cervantes-Knox Partner, DLA Piper – World Rank #3 (previously with Linklaters – World Rank #15)

•   Judith Gill KC, 20 Essex Street – UK Set Rank #37 (previously with Allen & Overy – World Rank #11)

•   David Goldberg Partner, White & Case – World Rank #7.

•   Philip Haberman, Haberman Ilett LLP since 2013 (accountant; expert witness)

•   Richard Hill, Shell (previously partner with what is now Norton Rose Fulbright – World Rank #19)

•   Duncan Matthews KC Legal 500 Tier 1, Top 20 London Bar - Commercial Litigation Co-Head, 20 Essex
    Street – UK Set Rank #37.

•   Constantine Partasides KC, Partner, Three Crowns

•   Sherina Petit Partner, Norton Rose Fulbright – World Rank #19.

•   Dr Wolfgang Peter, merits consultant and expert witness in complex valuation

•   Nigal Rawding KC, 20 Essex Street – UK Set Rank #37 (previously with Freshfields Bruckhaus Deringer – World
    Rank #17; co-author of Freshfields Guide to Arbitration)

•   Natalie Reid Partner, Debovoise & Plimpton – World Rank #43.

    Source: https://www.law.com/international-edition/2022/09/20/the-2022-global-200-ranked-by-revenue/
    Source: https://tela.uk/2018/03/top-50-barristers-chambers-websites/
    Source: https://legal500.com/c/london-bar/commercial-litigation/


                                                                                                              1
           Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 11 of 20




THE LCIA COURT, Q1 2023:

•   President: Paula Hodges KC Partner and Head of Global Arbitration, Herbert Smith Freehills – World.
     Rank #33.

•   VP: Raed Fathallah, Partner, Bredin Prat

•   VP: Matthew Gearing KC, independent (previously with Fountain Court Chambers – UK Set Rank #2)

•   VP: Christopher Lau SC, independent, director at Wing Tai Holdings Ltd. (Associate Member of
    3 Verulam Buildings – UK Set Rank #12)

•   VP: Karyl Nairn KC, independent (previously global co-head of International Arbitration, Skadden, Arps, Slate,
    Meager & Flom – World Rank #5)

•   VP: Garbielle Nater-Bass, Partner, Hoburger

•   VP: Professor Luca Radicati di Brozolo, Arblit, Door Tenant Fountain Court Chambers – UK Set Rank #2.

•   VP: Professor Dr Maxi Scherer Special Counsel, Wilmer Hale – World Rank #45 [previously on faculty of
    Georgetown Centre of Transnational Legal Studies with Professor Jon Molot]

•   Ramunas Audzevicius, Partner, Motieka & Audzevicius

•   Marie Berard Partner, Clifford Chance – World Rank #9.

•   Stavros Brekoulakis, Associate Member, 3 Verulam Buildings – UK Rank Set #12.

•   Kate Brown de Vajar Partner, DLA Piper – World Rank #3 [alumnus of Harvard Law School with Jon Molot]

•   Dr Alfredo Jose Bullard Gonzalez, Partner, Bullard Falla Ezcurra+

•   Utku Cosar, independent, Arbitration Chambers (previously with Cosar Avukatlik Burosu) [alumnus of
    Georgetown University Law Center where Jon Molot is a professor]

•   Anneliese Day KC Legal 500 Tier 3, Top 100 London Bar - Commercial Litigation Fountain Court.
    Chambers – UK Set Rank #2.

•   Anand Desai, Partner, DSK Legal

•   Artem Doudko Partner, Osborne Clarke – World Rank #121.

•   Nicola Dunleavy, Partner, Matheson


                                                                                                                 2
           Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 12 of 20




•   John Fellas, Fellas Arbitration [alumnus of Harvard Law School with Jon Molot]

•   Steven Finizio Partner, Wilmer Hale – World Rank #45 [alumnus of Georgetown University where Jon Molot
    is a professor]

•   Agis Georgiades, Partner, Christos Georgiades & Associates, Lincoln’s Inn

•   Beatrice Hamza-Bassey, Group General Counsel, Atlas Mara Ltd. (previously with Hughes Hubbard & Reed –
    World Rank #176)

•   James Hope, Partner and Head of International Arbitration, Vinge (previously with Simmons & Simmons –
    World Rank #92 – and Skadden, Arps, Slate, Meager & Flom – World Rank #5)

•   David Joseph KC Legal 500 Tier 3, Top 100 London Bar - Commercial Litigation Essex Court – UK Set Rank #6

•   Alvaro Lopez de Argumedo Partner, Uria Menendez – World Rank #173.

•   Nania Owusu-Ankomah, Partner, Bentsi-Enchill, Letsa & Ankomah

•   Ank Santens Partner, White & Case – World Rank #7.

•   Kamal Shah Partner, Stephenson Harwood – World Rank #187.

•   Shai Sharvit, Of Counsel, Gornitzky & Co.

•   Mohamed Shelbaya, Partner, Gaillard Banifatemi

•   Christopher Style KC, LCIA Board Chairman, One Essex Court – UK Set Rank #11 (previously with Linklaters –
    World Rank #15) [chambermate of Tribunal panelist Dame Elizabeth Gloster]

•   May Tai Partner, Herbert Smith Freehills – World Rank #33.

•   Sami Tannous, independent (previously with Freshfields Bruckhaus Deringer – World Rank #17)

•   Professor Dr Jacomijn van Haersolte-van Hof, LCIA Director General, HaersolteHof (previously with
    Freshfields Bruckhaus Deringer – World Rank #17)

•   Johanna Wirth Partner, Hengeler Mueller – World Rank #162.

•   Robert Wisner, Partner, McMillan

•   Byund-Chol Yoon Partner, Kim & Chang – World Rank #55.



                                                                                                                 3
           Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 13 of 20




THE LCIA COURT HONORARY VICE PRESIDENTS, Q1 2023:

•   Professor Dr Karl-Heinz Bockstiegel, independent arbitrator, past president of LCIA

•   Honourable L Yves Fortier CC OQ KC, past LCIA Court president (previously Partner with what is now
    Norton Rose Fullbright – World Rank #19)

•   Judith Gill KC, 20 Essex Street – UK Set Rank #37 (previously Partner with Allen & Overy – World Rank #11)

•   Professor Dr Gerold Herrmann, past LCIA Court president

•   Professor Jan Paulsson, University of Miami School of Law [alumnus of Yale and Harvard with Jon Molot]

•   Professor William W Park, Boston University [alumnus of Yale with Jon Molot]




    Source: https://www.law.com/international-edition/2022/09/20/the-2022-global-200-ranked-by-revenue/
    Source: https://tela.uk/2018/03/top-50-barristers-chambers-websites/
    Source: https://legal500.com/c/london-bar/commercial-litigation/




                                                                                                                 4
Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 14 of 20




                                                         Exhibit B
            Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 15 of 20




-----Original Message-----
From: Bruce Gray
Sent: Wednesday, August 23, 2023 5:27 PM
To: Tom Webster <webster@thwebster.com>; ZARD, Rebecca <Rebecca.Zard@freshﬁelds.com>;
'egloster@oeclaw.co.uk' <egloster@oeclaw.co.uk>; 'yarnmallan@gmail.com' <yarnmallan@gmail.com>
Cc: VALNER, Olivia <olivia.valner@freshﬁelds.com>; RUSSELL, Cameron
<Cameron.RUSSELL@freshﬁelds.com>; MARSDEN, Oliver (OJM) <oliver.marsden@freshﬁelds.com>;
Casework@lcia.org; 'teamd@oeclaw.co.uk' <teamd@oeclaw.co.uk>; 'AHodgson@oeclaw.co.uk'
<AHodgson@oeclaw.co.uk>
Subject: RE: LCIA Arbitra.on No: 204619 - Epicenter Loss Recovery LLC v Ganymede Investments Limited; and
Burford Capital Limited

Dear Members of the Tribunal:

Claimant Epicenter Loss Recovery LLC (“ELR”) writes in response to the leker to the Tribunal dated 16 August
2023 by counsel for Respondent Burford/Ganymede (“Burford”).

ELR has raised very serious and perfectly legi.mate ques.ons and concerns about the neutrality of the LCIA
as a forum for this arbitra.on as well as conﬂicts and bias – concerns Burford is no doubt eager to dismiss out
of hand for the obvious reason that there is an inconvenient truth to everything ELR stated in its responsive
communica.on dated 7 August 2023. ELR brought those concerns to the Tribunal as soon as ELR’s concerns
came to light aper conduc.ng its own research to try to penetrate the inexplicable secrecy surrounding the
unique rela.onship between Burford and the LCIA. While Burford protests and expresses its indigna.on to
the valid and very signiﬁcant concerns expressed by ELR, the Tribunal will note that Burford does nothing to
refute ELR’s central concerns based on the facts in ELR’s 7 August response.

Burford is absolutely unique and extraordinary in the world of interna.onal arbitra.on. It therefore deserves
far greater scru.ny when it is a direct party to interna.onal arbitra.on. As the world’s largest funder of
interna.onal arbitra.on – LCIA’s sole mission and reason to exist – Burford is literally in a class of one.
Burford is believed to mandate that all arbitra.on that Burford has any hand in, involving hundreds or
thousands of cases, must be decided by one rela.vely .ny privately owned company in London, the LCIA,
when Burford has so many op.ons available that are much larger, cheaper, faster, and far more convenient.
Why? If, as ELR believes, Burford is responsible for a very signiﬁcant number of LCIA cases, it is perfectly
reasonable and appropriate for anyone directly facing Burford in LCIA arbitra.on to ask these ques.ons and
challenge the neutrality of the LCIA given that it appears to be the only private forum that powerful and
inﬂuen.al Burford will accept. This is especially important given that Burford deals in high-value claims and
LCIA fees are based in part on claim size, meaning Burford may well be responsible for most of LCIA’s annual
revenue if not its very survival. It would be grossly unfair to ignore or dismiss ELR’s perfectly valid ques.ons
and highly relevant concerns.
            Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 16 of 20



ELR’s concerns and ques.ons are relevant for two very simple reasons: 1) no disclosures of any kind were
made by either the LCIA or Burford at the outset of this arbitra.on when there undoubtedly should have
been a myriad of disclosures; and 2) both Burford and the LCIA operate under a cloak of complete secrecy
that provides zero transparency to third par.es involved in arbitra.on into what is a perfectly obvious
rela.onship – secrecy and lack of transparency that would not be tolerated elsewhere. That combined with
what ELR experienced ﬁrst-hand during and immediately aper the trial and the claims made by Burford on its
website gives rise to ELR’s perfectly valid concerns and very serious allega.ons, to which neither ELR nor the
Tribunal have received a single answer.

It is deeply troubling that the LCIA was not suﬃciently self-aware or forthcoming about its one-of-a-kind
rela.onship with the world’s largest interna.onal arbitra.on funder to decline this case outright in 2020, or
at least make comprehensive disclosures to alert all par.es to its special rela.onship with one party so
everyone else involved could make an informed decision about moving forward with a very expensive process
that could take years. With a Board and Court comprised en.rely of top-.er lawyers and legal scholars, it is
inconceivable that it occurred to no one at LCIA that conﬂicts or at the very least the appearance of conﬂicts
existed given the secre.ve and highly unusual nature of the rela.onship between the LCIA and Burford.
Having failed to do so, that duty and burden fell solely to Burford to make the appropriate and .mely
disclosures and divulge the full extent of its history and involvement with the LCIA, its owners and those that
control it. Burford obviously knew those conﬂicts existed but remained silent, and con.nues to remain silent,
because it hoped the issue would never come to light and it would get away with having an existen.al threat
against it decided at a private, friendly venue where the deck was already stacked heavily against its
opponent.

The Tribunal must once and for all lip the cloak of secrecy that has protected both Burford and the LCIA and
shielded them from scru.ny by releasing all par.es involved in this arbitra.on from conﬁden.ality rules that
do nothing to help ELR but allow Burford to con.nue opera.ng in the shadows at enormous expense of
everyone else.

It is ELR’s strong conten.on that this arbitra.on is fatally tainted and unrecoverable due to the absence of
proper and .mely disclosures of any kind by either the LCIA or Burford, the complete lack of transparency
and total secrecy if not actual collusion by the LCIA and Burford that made it literally impossible for ELR to
have made an informed decision in 2019 and 2020 about moving ahead with this arbitra.on that wasted four
and a half years and exhausted all of ELR’s resources and that of its ul.mate owner. ELR contends that the
Tribunal must immediately terminate this arbitra.on and declare it void, aper ﬁrst ordering the LCIA and
Burford to refund ELR’s costs with interest totaling roughly $5,000,000. This is a self-inﬂicted wound by
Burford. It had the beneﬁt of all history and facts yet made a conscious decision not to shed the slightest
light on its secre.ve but very special rela.onship and obvious conﬂicts aper the LCIA remained silent.

In the absence of the Tribunal’s immediate termina.on of this arbitra.on and declara.on that it is void, as is
en.rely correct and appropriate, ELR speciﬁcally requests that the Tribunal clearly state in any award that ELR
strongly believes that both LCIA and the Respondent ukerly failed to make proper, necessary and .mely
             Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 17 of 20


disclosures and the LCIA was not a neutral, unconﬂicted or unbiased forum for this arbitra.on due to total
secrecy and the lack of transparency surrounding LCIA’s history and unique rela.onship with Burford, the
world’s largest interna.onal arbitra.on funder, raising very serious but unanswered ques.ons about this
en.re arbitra.on and thereby fatally tain.ng its outcome.

In the even the arbitra.on is not terminated and voided there should be no an.-suit injunc.on of any kind
for this reason.

ELR also contends that there must be an immediate, thorough, and fully independent inves.ga.on into the
en.rety of Burford’s history and unique rela.onship with the LCIA, its owners and those that control the LCIA,
conducted by highly qualiﬁed neutral par.es from outside the UK for the LCIA to preserve its integrity and
legi.macy. All informa.on relevant to their collec.ve case history and those rela.onships should ﬁnally be
made public and immediately available to anyone in arbitra.on or poten.al arbitra.on at LCIA that in any
way involves Burford, as well as to regulators, Burford investors, and those contempla.ng doing business with
Burford in the future.

Thank you.

Best regards,

Bruce Gray for Claimant Epicenter Loss Recovery LLC

-----Original Message-----
From: Tom Webster <webster@thwebster.com>
Sent: Wednesday, August 16, 2023 2:45 PM
To: ZARD, Rebecca <Rebecca.Zard@freshﬁelds.com>; 'egloster@oeclaw.co.uk' <egloster@oeclaw.co.uk>;
'yarnmallan@gmail.com' <yarnmallan@gmail.com>
Cc: Bruce Gray <bgray@grayus.com>; VALNER, Olivia <olivia.valner@freshﬁelds.com>; RUSSELL, Cameron
<Cameron.RUSSELL@freshﬁelds.com>; MARSDEN, Oliver (OJM) <oliver.marsden@freshﬁelds.com>;
Casework@lcia.org; 'teamd@oeclaw.co.uk' <teamd@oeclaw.co.uk>; 'AHodgson@oeclaw.co.uk'
<AHodgson@oeclaw.co.uk>
Subject: Re: LCIA Arbitra.on No: 204619 - Epicenter Loss Recovery LLC v Ganymede Investments Limited; and
Burford Capital Limited

Dear Colleagues:

On behalf of the Tribunal, I acknowledge receipt of the Respondents'
reply submissions on costs and on the an.-suit injunc.on.

Best regards.

Tom Webster
            Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 18 of 20



--
Thomas Webster
19 rue du Docteur Blanche
Paris 75016
France

www.thwebster.com

Tel. 33 (0) 785 33 1974
    33 (0) 971 44 8546
Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 19 of 20




                                                         Exhibit C
           Case 2:18-cv-03300-DJH Document 89 Filed 09/05/23 Page 20 of 20
From: Bruce Gray <bgray@grayus.com>
Date: Monday, September 4, 2023 at 3:22 PM
To: William J. Quinlan <wjq@quinlanfirm.com>, Lisa Quinlan
<lquinlan@quinlanfirm.com>
Subject: Opposition Response

Hi Bill and Lisa,

It’s extremely important in my view that we make Judge Humetewa fully aware of the insanity
of what happened during the LCIA trial in January and how that completely misaligns with the
tribunal’s inexplicable April ruling in Burford’s favor. It can only be explained by bias,
undisclosed conflicts, and the tribunal’s desire to help the LCIA’s secret benefactor walk away
scot-free from a rock-solid $600 million existential threat. Burford admitted during the trial that
 they actually ordered the destruction of thousands of internal emails having anything to do
 with ELR, ELR’s predecessors, or anything having to do with the tumultuous decade-long
 relationship despite being repeatedly advised by ELR’s predecessors as early as 2015 that it
 intended to sue Burford for its wrongdoing as soon as it had the means to do so. Burford
 knew exactly what was coming because we previewed the claim in the 2016-2018 bankruptcy
 case. But rather than assume Burford destroyed the most crucial evidence to save their skin
 – as I think any unbiased, unconflicted, fair-minded trier of fact would do – the tribunal
 dismissed it with a shrug and then found in Burford’s favor because they said I didn’t have
 enough corroborative evidence of Burford’s wrongdoing! Truly incredible. Let’s remind
 ourselves that Burford is a group of elite lawyers and the world’s largest investor in
 commercial litigation and international arbitration. Let’s remember too that Jon Molot, the
 Burford founder I dealt with the entire time, graduated near the top of his class from Harvard
 Law and is a law professor at Georgetown. No entity or group of people on the planet
 understand evidence preservation and illegal spoliation better than this group – they deal with
 this stuff every day. They clearly knew in advance that no LCIA tribunal would hold them to
 account or dare to bite the hand that feeds it and half the elite law firms in London where
 those that control the LCIA are partners. There’s more evidence of the tribunal’s bias but
 that’s the obvious place to start. The selective way they applied AZ law is another.

I also think we need to recognize that Burford wants the case dismissed in Arizona now
before anything is finalized in London so they can immediately refile in NYC to have any LCIA
award summarily confirmed without any questions asked and make sure Burford’s secret
relationship with LCIA never faces scrutiny. If that happens it’s game-over. I pray to god
Judge Humetewa sees what’s happening and allows this to go a jury here.

Bruce
